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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Action No. 21-cr-00095-PAB

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. LANDON PERRY GRIER,

       Defendant.


                    GOVERNMENT’S SENTENCING STATEMENT AS TO
                         DEFENDANT LANDON PERRY GRIER


       The United States of America, by and through the undersigned Assistant United

States Attorney, hereby submits the following position with respect to defendant Landon

Perry Grier’s sentencing.

                              Facts and Procedural History

       As described in the Presentence Investigation Report (“PSR”) and the plea

agreement, the defendant was aboard Alaska Airlines Flight 1474 from Seattle-Tacoma

International Airport (SEA) to Denver, Colorado (DEN) on March 9, 2021. While aboard

that flight, the defendant was not wearing a face mask as required, and a female flight

attendant asked the defendant eight to ten times to put on a face covering.

       The defendant ignored her, then began to push and swat her hand away as she

tried to gently tap his shoulder to get his attention, making contact with her right forearm

approximately three times. The defendant subsequently struck her arm two to three

times in an attempt to aggressively dismiss her and while continuing to refuse to put on


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a face covering. The defendant’s strikes resulted in actual physical contact with the

flight attendant but did not cause any injury.

       Later in the flight, as the pilots were preparing to land in Denver in emergency

landing conditions due to a mechanical issue, the flight attendants were again alerted to

the defendant’s conduct by other passengers. The defendant had stood up in the row

where he was seated and began urinating on the seat and surrounding areas, including

onto another passenger’s personal property.

       A flight attendant observed the defendant urinating in his seat, instructed him to

sit down, observed the defendant sit in his seat with his penis out of his pants, and

instructed him to put his penis back into his pants. The defendant responded in

substance, “I have to pee.”

       In response to the defendant’s conduct, the captain was notified, other

passengers had to be reseated, and the flight attendants were unable to complete their

assigned duties in preparation for landing. Upon landing in Denver, Colorado, the

defendant was arrested.

       For his conduct, Grier was charged with one count of Interference with Flight

Crew Members and Attendants under 49 U.S.C. § 46504. On July 16, 2021, the

defendant pled guilty to Count One of the Superseding Information charging him with

Simple Assault, under 18 U.S.C. § 113(a)(4) & 49 U.S.C. § 46506(1), pursuant to a plea

agreement.

                                  Guidelines Calculation

       As stated in the plea agreement and agreed upon by probation, the base offense

level is 7 under U.S.S.G. § 2A2.3. Based on the defendant’s acceptance of


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responsibility, the resulting offense level is 5, and the defendant’s criminal history

category is II. The resulting guideline range is 0 to 6 months. The guidelines also

provide for a fine in the range of $500 to $9,500, a supervised release term of one year,

and probation up to three years.

                      Application of the 18 U.S.C. § 3553(a) Factors

       For the reasons discussed herein and in accordance with the plea agreement,

the Government recommends that the Court sentence the defendant to 3 years

probation, 68 hours of alcohol therapy, a $5,000 fine, and 50 hours of community

service.

   A. Nature and Circumstances of the Offense

       Landon Perry Grier refused to comply with the requirement that he wear a

facemask while on a flight. After being asked repeatedly to comply, he swatted at a

flight attendant and struck her arm several times. He later urinated on his seat and the

property of other passengers, causing a disturbance while the flight crew was attending

to landing in emergency conditions. His behavior luckily did not cause injury or harm,

but the decisions he made were potentially more harmful and significantly distracted the

flight crew from their duties in ensuring the safety of all passengers. The defendant’s

conduct merits a proportionate response with a sentence of probation with the proposed

conditions.

   B. History and Characteristics of the Defendant

       The defendant’s criminal history seems to be, at least in part, driven by his

history of drug and alcohol abuse as he has been convicted of Driving While Ability

Impaired and of a Burglary for which his probationary sentence included substance


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abuse treatment. While the defendant has previously successfully completed treatment

and has overcome some of his addition, this criminal charge again arises from a

situation in which the defendant was impaired by alcohol.

       A probationary sentence to include alcohol treatment and community service

would be sufficient, but not greater than necessary, to address some of the underlying

cause of his behavior and to act as deterrence by highlighting the effect of his actions

on others.

   C. The Need for the Sentence to Achieve the Aims of 18 U.S.C. § 3553(a)(2)

       The proposed sentence is a proportionate response to the defendant’s conduct,

promotes respect for the law, and reflects the seriousness of his actions and their

potential consequences. These conditions of probation promote deterrence while

ensuring this defendant receives correctional treatment to protect the public from further

crimes.

   D. The Amount of the Fine

       The Government is bound by the plea agreement and requests the agreed-upon

sentence. In negotiating that plea agreement, the Government and defendant agreed to

a fine in the amount of $5,000. In the Presentence Investigation Report, Probation

Officer Burney recommends a $1,000 fine based on information regarding the

defendant’s ability to pay, of which the Government was not previously aware. We will

defer to the Court regarding the appropriate fine amount for the defendant.




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                                       Conclusion

      The Government respectfully requests that the Court sentence the defendant to a

sentence of 3 years probation, 68 hours of alcohol therapy, a $5,000 fine, and 50 hours

of community service.



      Respectfully submitted this 1st day of October, 2021.


                                        MATTHEW T. KIRSCH
                                        Acting United States Attorney


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